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                     UNITED STATES DISTRICT COURT
                 IN THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

MICHAEL COZZI, et al.                    )
                                         )
Plaintiffs,                              )
                                         )
v.                                       )        Case No. 21 CV 00998
                                         )
VILLAGE OF MELROSE PARK,                 )
et al.,                                  )
                                         )
Defendants.                              )


              DECLARATION PURSUANT TO DOCKET NOS. 19, 23

       1. On April 15, 2021, an email was transmitted to all the relevant

Departments (i.e. Police, Code, HR, Mayor/Secretary) advising their departments to

preserve the following categories:

       (a) any and all communications related to complaints received by the Village

related to 1609 N. 15th Avenue -this includes letters, emails, text messages,

voicemails, or handwritten notes.

       (b) any and all communications related to complaints received by the Village

related to Vincent Cozzi, Angeline Cozzi, or Michael Cozzi - again this includes

letters, emails, text messages, voicemails, or handwritten notes.

       (c) any and all personal or private phone records related to any of the Cozzis

records of calls, voicemails, or text messages.

       (d) Copies of all citations to 1609 N. 15th Avenue and/or any and all citations

issued to the Cozzi's as well as any records related to the result of the citations.

       (e) Any recordings of any hearings involving the citations issued to 1609 N.

                                             1
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15th Avenue or the Cozzis.

      2. An additional email was sent on April 15, 2021, requesting the following

be preserved: any photos of the violations for which citations were issued, whether

they have been printed out, exist digitally in the cloud or similar, or on someone's

phone or computer.

      3. Village employees, Bill Campanelli, Assistant Fire Chief of Code

Enforcement, Claudia Rafaelli, Code Enforcement Support Staff, and Dina Serpico,

Human Resources Assistant, all spoke to defense counsel as to what documents

were available or existed and the duty of preservation between April 14-23.

      4. Mayor Ronald Serpico also spoke to defense counsel as to what documents

were available or existed and the duty of preservation on April 21, 2021. He was

also advised to preserve any cell phone data. 1

      5. All police personnel were advised during roll call of the duty to preserve

related to the Cozzis between April 15-23, 2021.

      6. All police reports related to the Cozzis have been reviewed and retained in

police department records.

      7. All citations and records related to those citations have been reviewed and

retained.

      8. All parking ticket and records related to those tickets have been reviewed

and retained.




1
 With respect to paragraphs 3 and 4, Defendants expressly reserve and do not
waive attorney-client privilege.
                                           2
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      9. Individuals specifically referenced in the complaint were individually

notified of their duty to preserve related to the Cozzis at or around April 15, 2021.

      10. An email search for any emails related to the Cozzi address was

conducted in February of 2021 related to a FOIA request of Michael Cozzi by the

Vilage. However, an additional search was again conducted by the outside IT

department.

      11. The Village has also ensured that to the extent digital information exists,

such as email, no deletion of relevant data for purposes of this case will occur.

      12. Additionally, after the Court’s entry of its April 26, 2021 order, the

undersigned were again advised of their duty to preserve in relation to this case and

in compliance with the Court’s April 14, 2021 order.

      13. All of the undersigned have been provided a copy of the Court’s April 14,

2021 order.

      14. All of the undersigned understand and agree to follow this Court’s April

14, 2021 order.




          [Signatures and Certifications Under Penalty of Perjury Follow]




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                     UNITED STATES DISTRICT COURT
                 IN THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

MICHAEL COZZI, et al.                  )
                                       )
Plaintiffs,                            )
                                       )
v.                                     )      Case No. 21 CV 00998
                                       )
VILLAGE OF MELROSE PARK,               )
et al.,                                )
                                       )
Defendants.                            )


                                 CERTIFICATION
      I, Michael Fitak, Computer Technician at Precision Repair, do hereby certify
under penalties of perjury with respect to Nos. 10, 11, 13, and 14 in the “Declaration
Pursuant to Docket Nos. 19, 23.”


______________________________________
Michael Fitak

Date:_________________________________
